         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                        No. 1D2023-1740
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BRANDIAN DARNELL LYONS,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Escambia County.
John F. Simon, Jr., Judge.

                         August 21, 2024




PER CURIAM.

     DISMISSED. We lack jurisdiction because the first notice of
appeal directed to the June 16, 2023 judgment and sentence was
not filed by Appellant or his counsel;, and the amended notice of
appeal filed by a new attorney on August 16, 2023, and seeking
review of the same judgment, was untimely. See Fla. R. App. P.
9.140(b)(3) (“The defendant must file the notice prescribed by rule
9.110(d) with the clerk of the lower tribunal at any time between
rendition of a final judgment and 30 days following rendition of a
written order imposing sentence.”); Fla. R. App. P.
9.020(g)(1) (defining “appellant” as “[a] party who seeks to invoke
the appeal jurisdiction of a court”).
ROWE, BILBREY, and KELSEY, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Jessica J. Yeary, Public Defender, and Ross S. Haine II, Assistant
Public Defender, Tallahassee, for Appellant.

Ashley Moody, Attorney General, Tallahassee, for Appellee.




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